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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW MEXICO

EDDIE BEAGLES,

                 Plaintiff,

v.                                                                  CV No. 16-506 KG/CG

U.S. DEPARTMENT OF LABOR
WAGE AND HOUR DIVISION,

                 Defendant.

                               MEMORANDUM OPINION AND ORDER

          THIS MATTER is before the Court on Plaintiff’s Motion for Summary Judgment, (Doc.

34), filed October 18, 2018; Defendants’ Response to Plaintiff’s Motion for Summary Judgment

and Defendants’ Cross Motion for Summary Judgment, (Doc. 35), filed November 8, 2018;

Plaintiff’s Reply to Defendant’s Response to Plaintiff’s Motion for Summary Judgment, (Doc.

40), filed December 21, 2018; and Defendants’ Reply to Plaintiff’s Response to Defendant’s

Cross Motion for Summary Judgment, (Doc. 43), filed March 5, 2019. Having considered the

briefs, the record of the case, and relevant law, Plaintiff’s Motion for Summary Judgment, (Doc.

34), is DENIED, Defendants’ Cross Motion for Summary Judgment, (Doc. 35), is GRANTED,

and Plaintiff’s claims are DISMISSED as set forth below.

     I.   Background

          On September 3, 2013, Plaintiff submitted a request to the U.S. Department of Labor

Wage and Hour Division (“Defendant”) pursuant to 5 U.S.C. § 552, the Freedom of Information

Act (“FOIA”). (Doc. 1-2 at 8). Plaintiff asked for documents and materials about a charge he
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brought against his former employer, the New Mexico Department of Workforce Solutions

(“NMDWS”), and the resulting correspondence between NMDWS and Defendant. Id.

        On September 23, 2013, Defendant responded to Plaintiff’s request by providing 80

pages of disclosable documents, which were partially redacted, and stating it was withholding 18

documents in their entirety. Id. at 9. Defendant stated the information that was withheld was

exempt from disclosure pursuant to FOIA Exemptions 4, 5, 6, 7(c), 7(d), and 7(e). Id. at 9-10

(citing 5 U.S.C. §§ 552(b)(4), (5), (6), and (7)). Defendant explained that Exemption 4 protects

“trade secrets, commercial, or financial information obtained from a person that is privileged or

confidential,” and that, before releasing this information, Defendant must go through the “EO

12600 process.” Id. at 10.1 Defendant further explained that this process requires advising the

submitter of the confidential information of the FOIA request and “soliciting views as to whether

the disclosure would cause substantial harm if the information is released.” Id. Therefore,

Defendant instructed Plaintiff to notify Defendant if he wished to obtain documents pursuant to

the EO 12600 process. Id.

        In addition to explaining the EO 12600 process for information withheld under

Exemption 4, Defendant advised Plaintiff that he could appeal Defendant’s decision to withhold

information under the other exemptions by filing an appeal with the Solicitor of Labor within 90

days. Id. at 11. Defendant explained the appeal must: (1) state, in writing, the grounds for the

appeal, including any supporting statements or arguments; (2) be addressed to the Solicitor of

Labor in Washington, D.C.; and (3) be clearly marked “Freedom of Information Act Appeal” on

the envelope and letter of appeal itself. Id.


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  Executive Order 12,600, titled “Predisclosure Notification Procedures for Confidential Commercial Information,”
requires government agencies to notify companies if any potentially confidential commercial information has been
requested under FOIA and give them an opportunity to object. Exec. Order No. 12,600, 52 Fed. Reg. 23781 (June
23, 1987).

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        On October 1, 2013, Plaintiff sent a letter to Defendant “to request the additional

documents covered by EO 12600 process.” Id. at 12. Plaintiff stated that he would like the

information contained in “Exemption 4-All, Exemption 5-All, Exception [sic] 7/c.” Id. On

December 5, 2013, Defendant responded to Plaintiff’s request by stating that Exemptions 5 and

7(c) are not part of the EO 12600 process and providing documents that had been withheld

pursuant to Exemption 4. Id. at 13. Because portions of these documents were still redacted

under Exemption 7(c), Defendant informed Plaintiff that his request was denied in part.

Therefore, Defendant again explained that Plaintiff could file an appeal with the Solicitor of

Labor within 90 days and set forth the requirements for the appeal process, i.e., stating in writing

the grounds for the appeal, addressing the appeal to the Solicitor of Labor in Washington, D.C.,

and clearly marking “Freedom of Information Act Appeal” on the envelope and letter of appeal.

Id. at 14.

        On December 15, 2013, Plaintiff sent a letter to Defendant titled “Freedom of

Information Act Appeal.” (Doc. 1-3 at 1). Plaintiff stated he was appealing Defendant’s decision

to redact and withhold information in four documents, which Plaintiff titled Exhibits A-D and

attached to his letter. Plaintiff stated that portions of Exhibits A, C, and D should not have been

redacted, and that the two lists described in Exhibit B should have been provided to him. Id. at 1-

2; (Doc. 35-6 at 1-6). Defendant responded to Plaintiff’s appeal on January 14, 2014, stating it

had received the appeal and it was being processed. (Doc. 1-3 at 3).

        Plaintiff states that in January 2015 he hired an attorney to inquire as to the status of his

appeal. (Doc. 34 at 2, ¶ 6). On May 5, 2016, Plaintiff filed his Complaint in state court and, on

June 1, 2016, Defendant removed the case to this Court. (Doc. 1). On September 6, 2017, the

Court dismissed Defendant Saavedra as an improper party, and found that Plaintiff had



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exhausted his administrative remedies as to Defendant U.S. Department of Labor Wage and

Hour Division. (Docs. 24, 26). The Court also granted NMDWS’s motion for summary judgment

and dismissed NMDWS from the case. (Docs. 25, 27).

        On September 5, 2018, Defendant sent Plaintiff seven pages of documents in response to

Plaintiff’s FOIA appeal. (Doc. 34 at 2, ¶ 10); (Doc. 35 at 3, ¶ 12); (Doc. 35-8 at 1-7). These

documents were identical to Exhibits A-D of Plaintiff’s December 15, 2013 letter, but with fewer

redactions, and included the two lists described in Exhibit B. Compare (Doc. 35-6 at 1-6) with

(Doc. 35-8 at 1-7). In addition, on September 14, 2018, Defendant sent Plaintiff a Vaughn index,

which explained the documents were redacted pursuant to Exemption 6. (Doc. 35-9 at 1-2).

        In his Motion for Summary Judgment, Plaintiff contends Defendant improperly withheld

18 documents in response to his FOIA request. (Doc. 34 at 4). He challenges the exemptions

Defendant applied to the 18 documents, and states that Defendant failed to identify whether the

seven pages it produced on September 5, 2018, were part of the 18 documents that were initially

withheld. Id. at 4-10. Plaintiff asks the Court to “either review the 18 documents to see if any of

the FOIA exemptions apply, or order their production.” Id. at 10. In addition, Plaintiff asks the

Court to award him attorney’s fees and costs. Id. at 10-11.

        In its Response/Cross Motion for Summary Judgment, Defendant states that the only

remaining issue in this case is whether Plaintiff is entitled to unredacted copies of the seven

pages Defendant produced on September 5, 2018. (Doc. 35 at 3-4, 7). Defendant contends these

are the only documents that were the subject of Plaintiff’s FOIA appeal, and that Plaintiff did not

appeal any of the remaining documents that were withheld in response to his FOIA request. Id.

Defendant also argues it properly and lawfully redacted the seven pages pursuant to Exemption

6, and that Plaintiff’s request for attorney’s fees is premature. Id. at 7-11.



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       In his Reply/Response to Defendant’s Cross Motion for Summary Judgment, Plaintiff

states that he appealed Defendant’s decision to withhold 18 documents and redact 33 pages in

response to his FOIA request. (Doc. 40 at 1). Plaintiff argues Defendant has failed to meet its

burden under FOIA to demonstrate it properly withheld information, and that the seven pages

Defendant produced on September 5, 2018, do not fully address Plaintiff’s FOIA appeal. Id. at 1-

3. In Defendant’s Reply to its Cross Motion for Summary Judgment, Defendant reiterates that

the only documents at issue are Exhibits A-D attached to Plaintiff’s FOIA appeal, and that

Defendant properly redacted those documents pursuant to Exemption 6. (Doc. 43 at 6-9).

 II.   Legal Standard

       Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A fact is material if it could have an effect on the outcome of the suit. Smothers v. Solvay

Chems., Inc., 740 F.3d 530, 538 (10th Cir. 2014). A dispute over a material fact is genuine if the

evidence presented could allow a rational jury to find in favor of the non-moving party. EEOC v.

Horizon/CMS Healthcare Corp., 220 F.3d 1184, 1190 (10th Cir. 2000). In considering a

summary judgment motion, the court views the facts in the light most favorable to the non-

moving party and draws all reasonable inferences in favor of that party. Shero v. City of Grove,

510 F.3d 1196, 1200 (10th Cir. 2007).

       A party seeking summary judgment bears the initial burden of showing that there is no

genuine dispute as to a material fact. Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir.

1998). When that party does not have the burden of persuasion at trial, it can satisfy its burden at

the summary judgment stage by identifying a lack of evidence on an essential element of the

claim. Id. at 671. If the movant satisfies its burden, the burden then shifts to the non-movant. Id.



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       The party opposing summary judgment cannot rest on the pleadings but must go beyond

the pleadings and “designate specific facts so as to make a showing sufficient to establish the

existence of an element essential to that party’s case in order to survive summary judgment.”

Sealock v. Colo., 218 F.3d 1205, 1209 (10th Cir. 2000). The non-movant must set forth specific

facts from which a rational trier of fact could find in the non-movant’s favor, identifying those

facts in affidavits, deposition transcripts, or incorporated exhibits. Adler, 144 F.3d at 671. The

party cannot rest on ignorance of the facts, speculation, or unsubstantiated conclusory

allegations. Harvey Barnett, Inc. v. Shidler, 338 F.3d 1125, 1136 (10th Cir. 2003). “A fact is

‘disputed’ in a summary-judgment proceeding only if there is contrary evidence or other

sufficient reason to disbelieve it; a simple denial, much less an assertion of ignorance, does not

suffice.” Grynberg v. Total S.A., 538 F.3d 1336, 1345 (10th Cir. 2008).

III.   Freedom of Information Act

       Congress enacted FOIA as a means “to open agency action to the light of public

scrutiny.” Dep’t of the Air Force v. Rose, 425 U.S. 352, 361 (1976). As the United States

Supreme Court has “consistently recognized, the basic objective of the Act is disclosure.”

Chrysler Corp. v. Brown, 441 U.S. 281, 290 (1979). At the same time, the statute represents a

“balance [of] the public’s interest in governmental transparency against legitimate governmental

and private interests that could be harmed by release of certain types of information.” United

Techs. Corp. v. U.S. Dep’t of Def., 601 F.3d 557, 559 (D.C. Cir. 2010) (citations omitted).

Reflecting that balance, FOIA contains nine exemptions to disclosure set forth in 5 U.S.C. §

552(b)(1)-(9).

       Under FOIA, the government agency has the burden of proving the requested information

was either produced or falls within one of the nine exemptions. 5 U.S.C. § 552(a)(4)(B); see also



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Judicial Watch, Inc. v. U.S. Dep’t of Def., 715 F.3d 937, 941 (D.C. Cir. 2013) (“Ultimately, an

agency’s justification for invoking a FOIA exemption is sufficient if it appears ‘logical’ or

‘plausible.’”). To satisfy this burden, an agency in possession of material it considers exempt

from FOIA must “provide the requestor with a description of each document being withheld, and

an explanation of the reason for the agency’s nondisclosure.” Oglesby v. U.S. Dep’t of the Army,

79 F.3d 1172, 1176 (D.C. Cir. 1996). This can be accomplished by providing the requestor with

sufficiently detailed affidavits or declarations, or by providing a Vaughn index, which is “a

compilation prepared by the government agency . . . listing each of the withheld documents and

explaining the asserted reason for its nondisclosure.” Anderson v. Health and Human Servs., 907

F.2d 936, 940, n.3 (10th Cir. 1990) (citing Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973)).

       FOIA claims are typically resolved on summary judgment, provided the above standard

is satisfied. See KTVY-TV v. United States, 919 F.2d 1465, 1468 (10th Cir. 1990). In addition, in

a FOIA action challenging an agency decision to withhold information, the court reviews the

agency’s decision de novo. Herrick v. Garvey, 298 F.3d 1184, 1189 (10th Cir. 2002).

IV.    Analysis

       A. Exhaustion of Administrative Remedies

       “Generally, a plaintiff must exhaust [his] administrative remedies under FOIA before

filing suit in federal court so that the agency has an opportunity to exercise its discretion and

expertise on the matter and to make a factual record to support its decision.” Hull v. I.R.S., U.S.

Dep’t of Treasury, 656 F.3d 1174, 1179 (10th Cir. 2011) (citations omitted). To exhaust

administrative remedies, a plaintiff must request specific information in accordance with

published administrative procedures and appeal any improperly refused request to the head of the




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agency. 552 U.S.C. § 552(a)(6)(A); Judicial Watch v. F.B.I., 190 F. Supp. 2d 29, 32-33 (D.C.

Cir. 2002).

        Throughout this case, the parties have agreed that Plaintiff’s December 15, 2013, letter

was his appeal of Defendant’s response to his FOIA request. See (Doc. 1-2 at 2 and 4, Plaintiff’s

Complaint stating he filed his appeal on December 15, 2013); see also (Doc. 5 at 4, Defendant’s

memorandum in support of its motion to dismiss), (Doc. 9 at 1, Plaintiff’s response to

Defendant’s motion to dismiss), and (Doc. 15, Defendant’s reply to its motion to dismiss) (all

stating Plaintiff’s December 15, 2013, letter was his FOIA appeal). Indeed, in the Court’s Order

on Defendant’s motion to dismiss, the Court noted that Plaintiff’s December 15, 2013, letter was

his FOIA appeal, (Doc. 24 at 2), and found that Plaintiff had constructively exhausted his

administrative remedies because Defendant failed to make a timely determination on the appeal,

id. at 6-9.

        Now, however, the parties dispute the scope of Plaintiff’s FOIA appeal. Defendant

contends that Plaintiff has only appealed the documents attached to his December 15, 2013, letter

(Exhibits A-D). (Doc. 35 at 3-4, 7). But Plaintiff asserts that his October 1, 2013, letter asking to

pursue the EO 12600 process was a FOIA appeal. For example, in his Motion for Summary

Judgment, Plaintiff refers to his October 1, 2013, letter as his “Appeal pursuant to EO 12600,

regarding the exemptions 4, 5, and 7 related to the 18 documents withheld.” (Doc. 34 at 2). In his

Reply/Response to Defendant’s Cross Motion, Plaintiff states that Defendant never addressed his

appeal of the 18 withheld documents, and that Defendant also improperly redacted 33 pages that

were attached to Plaintiff’s October 1, 2013, letter. (Doc. 40 at 1); (Doc 40-1 at 10-43).

        Although an agency should construe FOIA requests and appeals liberally, the scope of a

request or an appeal must be “reasonably described” or “reasonably apparent” to the agency. See



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5 U.S.C. § 552(a)(3) (stating a FOIA requestor must “reasonably describe[]” the records sought);

Stein v. U.S. Sec. and Exch. Comm., 266 F. Supp. 3d 325, 336 (D.C. Cir. 2017) (explaining that

the scope of a FOIA appeal must be “reasonably apparent” to the agency). A FOIA “request

reasonably describes records if the agency is able to determine precisely what records are being

requested.” Kwalczyk v. Dep’t of Justice, 73 F.3d 386, 388 (D.C. Cir. 1996) (citation omitted);

see also Landmark Legal Found. v. E.P.A., 272 F. Supp. 2d 59, 64 (D.C. Cir. 2003) (“[A]n

agency processing a FOIA request is not required to divine a requestor’s intent.”).

       Here, Plaintiff’s October 1, 2013, letter, (hereinafter, the “EO 12600 letter”), does not

comply with Defendant’s appeal process because it: (1) does not provide any grounds for an

appeal; (2) does not state that it is a FOIA appeal; and (3) was not sent to the Solicitor of Labor

at the Washington, D.C. address for appeals. See (Doc. 35-2 at 3); (Doc. 35-3 at 1). Instead,

Plaintiff stated he “is writing to request the additional documents covered by EO 12600 process.”

(Doc. 35-3 at 1). While Plaintiff further stated he would like “all” the information withheld

pursuant to Exemptions 4, 5, and 7(c), Defendant explained in its December 5, 2013, response to

the EO 12600 letter that “Exemption 5(c) and Exemption 7(c) are not part of an EO 12600

process,” and that it was only providing documents that were disclosable under Exemption 4

pursuant to the EO 12600 process. (Doc. 35-4). The Court therefore finds that it is not reasonably

apparent that Plaintiff’s EO 12600 letter was a FOIA appeal.

       In contrast, Plaintiff’s December 15, 2013, letter is titled “Freedom of Information Act

Appeal,” provides specific grounds for Plaintiff’s appeal of four documents, and is correctly

addressed to the Solicitor of Labor in Washington, D.C. (Doc. 35-5 at 1) (“I am filing this appeal

for discloser [sic] of the following documents marked EXHIBITS ‘A’-‘D’, attached to this

appeal.”). This is the only evidence in the record of a FOIA appeal. Moreover, because Plaintiff



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narrowed the scope of his appeal to Exhibits A-D, it is not reasonably apparent that he intended

to appeal the withholding of any other information.

       Based on the foregoing, the Court finds that Plaintiff’s EO 12600 letter was not a proper

appeal of his FOIA request. The Court further finds that Plaintiff’s December 15, 2013, letter,

(hereinafter “FOIA appeal”), was limited in scope to Exhibits A-D. Therefore, Plaintiff has not

exhausted his administrative remedies as to any documents other than Exhibits A-D attached to

his FOIA appeal.

       B. Prudential Subject Matter Jurisdiction

       Even though Plaintiff has not exhausted his administrative remedies as to any documents

other than those specified in his FOIA appeal, exhaustion of administrative remedies is “a

prudential consideration rather than a jurisdictional prerequisite.” Hull, 656 F.3d at 1181-82

(explaining that, under FOIA, courts take exhaustion into account in determining whether to

exercise subject matter jurisdiction). Nevertheless, “exhaustion remains a hurdle that FOIA

plaintiffs must generally clear in order to obtain relief through the courts.” Id. at 1183. Therefore,

to determine whether the Court can consider Plaintiff’s claims regarding documents other than

those specified in his FOIA appeal, the Court must consider whether “the purposes of

exhaustion” and the “particular administrative scheme” support judicial review. Id. (quoting

Hidalgo v. F.B.I. 344 F.3d 1256, 1258-59 (D.C. Cir. 2003)).

       The purposes of exhaustion under FOIA are to: (1) prevent premature interference with

agency processes; (2) afford the parties and the Court the benefit of the agency’s experience and

expertise; and (3) compile a record which is adequate for judicial review. Id. In addition,

“FOIA’s administrative scheme favors treating failure to exhaust as a bar to judicial review.” Id.

Here, in both Plaintiff’s EO 12600 letter and his FOIA appeal, Plaintiff failed to provide grounds



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for appealing any documents other than Exhibits A-D. See (Docs. 35-3, 35-5, and 35-6). As such,

Defendant has not had an opportunity to address Plaintiff’s claim that it improperly withheld or

redacted documents other than Exhibits A-D. This leaves Plaintiff and the Court without the

benefit of Defendant’s experience and expertise as to these documents or an adequate record for

judicial review.

       For these reasons, the Court finds the purposes of exhaustion under FOIA have not been

met for documents that were not part of Plaintiff’s FOIA appeal. Indeed, this case is similar to

many cases where courts have found a lack of prudential subject matter jurisdiction where a

plaintiff failed to file an appeal in accordance with the agency’s requirements. See, e.g., Toensing

v. U.S. Dep’t of Justice, 890 F. Supp. 2d 121, 136 (D.C. Cir. 2012) (explaining that “[f]ailure to

exhaust administrative remedies is not a mere technicality, and a court must decline to decide the

merits of an unexhausted FOIA claim when the plaintiff fails to comply with procedures for

administrative review,” because this denies agency “an opportunity to review its initial

determination, apply its expertise, correct any errors, and create an ample record in the process”);

Adamo v. Romero, No. CV 15-971 JB/GBW, 2016 WL 7494280, at *6 (D.N.M. Apr. 27, 2016)

(unpublished) (finding no prudential subject matter jurisdiction because plaintiff did not file

appeal of her adverse FOIA determinations); Eames v. United States, No. 13-CV-00040-DBP,

2014 WL 4803160, at *3-4 (D. Utah Sept. 26, 2014) (unpublished) (same); Watters v. U.S. Dep’t

of Justice, No. 10-CV-270-GKF-PJC, 2013 WL 4482968, at *7-8 (N.D. Okla. Aug. 20, 2013)

(unpublished) (finding plaintiff’s letter to agency requesting appeal of agency’s FOIA response

did not constitute exhaustion of administrative remedies because plaintiff did not follow

agency’s additional instructions for perfecting appeal).




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       In addition, this case is distinguishable from Hull v. I.R.S., where the Tenth Circuit found

the district court had prudential subject matter jurisdiction over the plaintiffs’ FOIA claims. In

Hull, the plaintiffs challenged the agency’s requirement for a third-party’s authorization before it

would process their FOIA request. 656 F.3d at 1180-82. The Tenth Circuit explained that the

plaintiffs “have done all they could to challenge the IRS’s adverse determination” because, even

if the plaintiffs appealed the agency’s decision, the agency’s response would have been the same.

Id. at 1181-83. Therefore, the Tenth Circuit concluded that the purposes of exhaustion under

FOIA had been served “because Plaintiffs did not bypass the administrative review process but

pursued it to its end.” Id. at 1183 (citation omitted). Here, however, Plaintiff has not pursued the

FOIA appeal process to its end with regard to any documents other than Exhibits A-D, and he

has not shown that an appeal of the remaining documents would necessarily be denied. See, e.g.,

Porter v. C.I.A., 579 F. Supp. 2d 121, 126 (D.C. Cir. 2008) (explaining that requestor may refile

FOIA request which will restart FOIA process, but that “all new requests . . . remain subject to

the exhaustion requirement”); Wilbur v. C.I.A., 355 F.3d 675, 677 (D.C. Cir. 2004) (finding the

plaintiff properly exhausted his administrative remedies by filing untimely appeal that agency

accepted and processed).

       Based on the foregoing, the Court finds that it lacks prudential subject matter jurisdiction

over any documents other than Exhibits A-D attached to Plaintiff’s FOIA appeal. Therefore,

Plaintiff’s claims as to those documents shall be dismissed without prejudice. See Hayward v.

Brill, 163 Fed. Appx. 667, 669 (10th Cir. 2006) (unpublished) (stating that dismissal for failure

to exhaust administrative remedies should be without prejudice, allowing plaintiff to re-file claim

after curing deficiencies).




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       C. Defendant’s Compliance With FOIA

       Having determined that Plaintiff exhausted his administrative remedies for Exhibits A-D

attached to his FOIA appeal, the Court next considers whether Defendant fulfilled its FOIA

obligations as to those documents. Defendant states the only remaining redactions to those

documents are pursuant to Exemption 6. (Doc. 35 at 7-8); (Doc. 35-8). Defendant argues the

redacted information complies with the requirements of Exemption 6 because it is similar to that

contained in personnel and medical files and Defendant only redacted information directly

attributable to specific individuals. (Doc. 35 at 9). Defendant further contends release of this

information would constitute a clearly unwarranted invasion of privacy interests and serve no

public purpose. Id. at 9-10.

       Under Exemption 6, a governmental agency is not required to release information in

“personnel and medical files and similar files the disclosure of which would constitute a clearly

unwarranted invasion of privacy.” 5 U.S.C. § 552(b)(6). “Similar files” has been interpreted

broadly and “encompasses all information that applies to a particular individual.” Forest

Guardians v. U.S. F.E.M.A., 410 F.3d 1214, 1217 (10th Cir. 2005). In ascertaining the

applicability of Exemption 6, the Supreme Court has enumerated three principles:

               First, a court must balance the public interest in disclosure against
               the interest Congress intended the Exemption to protect. Second,
               the only relevant public interest in disclosure to be weighed in this
               balance is the extent to which disclosure would serve the core
               purpose of the FOIA, which is contributing significantly to public
               understanding of the operations or activities of the government.
               Third, whether an invasion of privacy is warranted cannot turn on
               the purposes for which the request for information is made.

U.S. Dep’t of Def. v. Fed. Labor Relations Auth., 510 U.S. 487, 495-96 (1994) (citations

omitted). Exemption 6’s protection “encompass[es] the individual’s control of information

concerning his or her person.” U.S. Dep’t of Justice v. Reporters Comm. for Freedom of the


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Press, 489 U.S. 749, 763 (1989). “That information includes the prosaic (e.g., place of birth and

date of marriage) as well as the intimate and potentially embarrassing.” Painting and Drywall

Work Pres. Fund, Inc. v. Dep’t of Housing and Urban Dev., 936 F.2d 1300, 1302 (D.C. Cir.

1991).

         Defendant explains in its Vaughn index that it redacted (1) the home addresses and phone

numbers of NMDWS employees, and (2) private information in emails between NMDWS and a

federal employee. (Docs. 35-8, 35-9). Plaintiff states he does not oppose the redactions to

individuals’ names, but that “the blanket exception cannot be asserted to all of the contents of the

18 documents as a whole.” (Doc. 34 at 8). Plaintiff further states that, as to the seven pages

produced in September 2018, the redactions “were largely inappropriately completely redacted

despite [Defendant’s counsel’s] oral telephonic communication that he would provide un-

redacted documents.” Id.

         First, as set forth above, Plaintiff only exhausted his administrative remedies for the

exhibits that were attached to his FOIA appeal, so the issue of whether Exemption 6 was

properly applied to any additional documents is not before the Court. As for the documents that

were the subject of Plaintiff’s FOIA appeal, they are not “completely redacted” as Plaintiff

contends. To the contrary, in response to Plaintiff’s appeal Defendant removed a significant

number of redactions to those documents, leaving only redactions to home addresses, phone

numbers, names, and other information that is directly attributable to individuals other than

Plaintiff. See (Doc. 35-8 at 4-7), (Doc. 35 at 9).

         In addition, the Court agrees with Defendant that there is a privacy interest in this

withheld information and that disclosure would be an unwarranted invasion of personal privacy.

See, e.g., Reporters Comm. for Freedom of the Press, 489 U.S. at 765 (“[D]isclosure of records



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regarding private citizens, identifiable by name, is not what the framers of the FOIA had in

mind.”); Painting and Drywall Work Pres. Fund, Inc., 936 F.2d at 1303 (Exemption 6 protects

personal information contained in payroll records); Stabasefski v. United States, 919 F.Supp.

1570, 1575 (M.D. Ga. 1996) (“Courts have consistently recognized that a federal employee has a

substantial privacy interest in his or her name and address.”). Moreover, because the redacted

information reveals little or nothing about Defendant or its conduct, it “falls outside the ambit of

the public interest that the FOIA was enacted to serve.” Reporters Comm. for Freedom of the

Press, 489 U.S. at 773, 775 (explaining that FOIA’s purpose “is not fostered by disclosure of

information about private citizens that is accumulated in various governmental files but that

reveals little or nothing about an agency’s own conduct”). Therefore, because Defendant

properly redacted information pursuant to Exemption 6 in its response to Plaintiff’s FOIA

appeal, the Court will dismiss Plaintiff’s claims as to those documents with prejudice.

       D. Plaintiff’s Timeliness Claim

       Next, the Court addresses Plaintiff’s claim that Defendant violated FOIA because it did

not provide a timely response to Plaintiff’s FOIA appeal. (Doc. 34 at 10). Defendant does not

respond to this claim in its Response/Cross Motion for Summary Judgment.

       Under FOIA, government agencies have twenty working days to make a determination

with respect to an appeal of a denial of a request for public records. 5 U.S.C. § 552(a)(6)(A)(ii).

If an agency is unable to make a determination within this time period, the agency may request

one ten-day extension or ask the requestor to clarify the issues raised on appeal. Id. These time

periods may be further extended in “unusual circumstances” upon written notice to the requestor

stating the date upon which a determination by the agency is expected. 5 U.S.C. § 552(a)(6)(B).

This notice shall also provide the requestor an opportunity to limit the scope of the request and



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notify the requestor of the right to seek dispute resolution services from the Office of

Government Information Services. Id.

       In this case, Defendant responded to Plaintiff’s FOIA appeal within twenty days by

acknowledging receipt of the appeal and stating it was being processed. (Doc. 35-7). However,

as previously held by this Court, Defendant’s response did not satisfy FOIA’s statutory

requirements because Defendant did not determine whether to produce additional information or

deny Plaintiff’s FOIA appeal. See (Doc. 24 at 6-9) (finding that Plaintiff constructively

exhausted his administrative remedies because Defendant failed to make timely determination on

appeal). In addition, there is no evidence before the Court that Defendant requested any

extensions due to unusual circumstances or provided Plaintiff with an opportunity to limit his

request or seek dispute resolution services. Therefore, Defendant failed to comply with FOIA’s

timeliness requirements in response to Plaintiff’s FOIA appeal.

       Nevertheless, before Plaintiff filed his Motion for Summary Judgment, Defendant

produced information responsive to Plaintiff’s FOIA appeal. “The only question for summary

judgment is whether the agency finally conducted a reasonable search, and whether its

withholdings are justified. When exactly a reasonable search was conducted is irrelevant.”

Hornbostel v. U.S. Dep’t of Interior, 305 F. Supp. 2d 21, 28 (D.D.C. 2003) (citations omitted);

see also Tijerina v. Walters, 821 F.2d 789, 799 (D.C. Cir. 1987) (“[H]owever fitful or delayed

the release of information under the FOIA may be . . . if we are convinced appellees have,

however belatedly, released all nonexempt material, we have no further judicial function to

perform under the FOIA.”) (citation omitted). Defendant released all nonexempt information




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pursuant to Plaintiff’s FOIA appeal. Accordingly, the Court finds that Plaintiff’s timeliness claim

is moot.2

         E. Attorney’s Fees

         Finally, Plaintiff asks the Court to assess attorney’s fees that Plaintiff incurred in bringing

this case. (Doc. 34 at 10-11). Plaintiff states he is entitled to attorney’s fees because Defendant

failed to respond to his appeal for almost five years. Id. Defendant responds that Plaintiff’s

attorney’s fees request is premature because Plaintiff has not substantially prevailed and because

Defendant responded to Plaintiff’s FOIA appeal by providing less-redacted copies of the

documents at issue. (Doc. 35 at 10-11). Plaintiff does not address his request for attorney’s fees

in his Reply.

         “Assessment of attorney’s fees in a FOIA case is discretionary with the district court.”

Anderson v. Sec. of Health and Human Res., 80 F.3d 1500, 1504 (10th Cir. 1996). In applying

for an award of FOIA attorney’s fees, a plaintiff must first establish he is eligible for an award by

showing that he “substantially prevailed” on his claim. Id. (citing 5 U.S.C. § 552(a)(4)(E)(i)). A

plaintiff substantially prevails through either: “(1) a judicial order, or an enforceable written

agreement or consent decree; or (2) a voluntary or unilateral change in position by the agency, if

the complainant’s claim is not insubstantial.” 5 U.S.C. § 552(a)(4)(E)(ii).

         Here, there has been no court order, enforceable written agreement, or consent decree for

the production of the requested information, and there is no evidence that the information was



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  When a plaintiff alleges that an “agency has engaged in a pattern or practice of withholding documents in response
to FOIA requests, belated production will not moot the plaintiff’s claims, and the failure to comply with the
statutory deadlines, in and of itself, may constitute a violation of FOIA.” Info. Network for Responsible Mining v.
Dep’t of Energy, No. CIV. 06-CV-02271-REB, 2008 WL 762248, at 3, n.5 (D. Colo. Mar. 18, 2008) (unpublished).
However, because Plaintiff does not assert an ongoing pattern or practice of tardy compliance, Defendant’s belated
release of all non-exempt information renders Plaintiff’s timeliness claim moot. See id. (finding the agency’s failure
to comply with FOIA’s statutory deadlines was irrelevant because the agency finally responded to the plaintiffs’
FOIA request and the plaintiffs did not assert an ongoing pattern or practice of tardy compliance).

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produced by any voluntary or unilateral change in position by Defendant. Instead, Plaintiff

argues he should be awarded attorney’s fees because Defendant did not respond to his FOIA

appeal for close to five years. (Doc. 34 at 10). The Court is sympathetic that there was a

significant delay in Defendant’s response to Plaintiff’s FOIA appeal. Nevertheless, to show that

he substantially prevailed, Plaintiff must demonstrate the litigation caused the agency to release

the information, and “causation requires more than correlation.” Grand Canyon Trust v. Zinke,

311 F. Supp. 3d 381, 388 (D.D.C. 2018); see also Citizens for Responsibility & Ethics in Wash.

v. U.S. Dep’t of Justice, 83 F. Supp. 3d 297, 307 (D.D.C. 2015) (stating “the sole question” in

FOIA attorney’s fees cases “is whether the plaintiff’s lawsuit was necessary for its attainment of

the requested documents”). Plaintiff makes no argument or showing that Defendant produced the

requested information due to anything other than Defendant’s consideration and processing of

Plaintiff’s FOIA appeal. Therefore, the Court finds that Plaintiff has not established that he

substantially prevailed on his FOIA claim.

        Even if the Court were to find that Plaintiff substantially prevailed on his FOIA claim, the

Court must next determine whether he is entitled to a fee award. See Gowan v. U.S. Dep’t of the

Air Force, 148 F.3d 1182, 1195 (10th Cir. 1998) (“In the FOIA attorney’s fee context, we have

held that a plaintiff must establish both that he or she is eligible for an attorney’s fee award and

that he or she is entitled to it.”). To determine whether a plaintiff is entitled to a fee award, the

court must evaluate the following four factors: “(1) the benefit to the public, if any, derived from

the case; (2) the commercial benefit to the complainant; (3) the nature of the complainant’s

interest in the records sought; and (4) whether the government’s withholding of the records had a

reasonable basis in the law.” Anderson, 80 F.3d at 1504 (citation omitted). Plaintiff makes no

argument that his FOIA request was for the benefit of the public, and he provides no information



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regarding the nature of his interest in the information. In addition, Defendant’s withholding of

the information was reasonable under the statutory exemptions. Accordingly, the Court finds that

Plaintiff has not shown that he is entitled to attorney’s fees. See id. (explaining that “the fee

applicant bears the burden of establishing entitlement to an award”); see also Maydak v. U.S.

Dep’t of Justice, 579 F. Supp. 2d 105, 108-09 (D.D.C. 2008) (denying FOIA attorney’s fees

because plaintiff was sole beneficiary of released records, public held little, if any, interest in

records, and agency did not exhibit bad faith by initially withholding them).

 V.    Conclusion

       For the reasons stated above, the Court finds that Plaintiff exhausted his administrative

remedies as to Exhibits A-D attached to his FOIA appeal, and that Defendant properly redacted

those documents under Exemption 6. The Court further finds that Plaintiff did not exhaust his

administrative remedies for any other documents. Therefore, Plaintiff’s claims as to Exhibits A-

D shall be dismissed with prejudice, and his remaining claims shall be dismissed without

prejudice.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion for Summary Judgment, (Doc.

34), is DENIED and Defendants’ Cross Motion for Summary Judgment, (Doc. 35), is

GRANTED. Plaintiff’s claims regarding Exhibits A-D attached to his December 15, 2013 FOIA

appeal, (Docs. 35-5 and 35-6), are DISMISSED WITH PREJUDICE, and Plaintiff’s remaining

claims are DISMISSED WITHOUT PREJUDICE for failure to exhaust administrative remedies.

       IT IS SO ORDERED.



                                               ____________________________________
                                               UNITED STATES DISTRICT JUDGE




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